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                                        EXHIBIT A

                                     Amended Complaint




4919-2097-8955, v. 1
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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

 In re:
                                                          Chapter 7
 Power Home Solar, LLC,
                                                          Case No. 22-50228
                        Debtor.

 JIMMY R. SUMMERLIN, JR., in his
 capacity as Chapter 7 bankruptcy trustee
 for the Estate of Power Home Solar, LLC
 d/b/a Pink Energy,

                         Plaintiff,

 v.

 ALAN J. SUSSMAN & ASSOCIATES,                            Adv. Pro. No. 24-03063
 LLC D/B/A THE SUSSMAN AGENCY,
 FRANKLIN COMMUNICATIONS, INC.
 D/B/A COLUMBUS RADIO GROUP,
 SCRIPPS MEDIA, INC., NEXSTAR
 MEDIA GROUP, INC., AND NEXSTAR
 MEDIA INC. D/B/A NEXSTAR
 BROADCASTING, INC.

                        Defendants.

                                      AMENDED COMPLAINT

          Now comes Jimmy R. Summerlin, Jr. (the “Plaintiff”) as the Trustee for the Bankruptcy

Estate of Power Home Solar, LLC d/b/a Pink Energy (the “Debtor”), and shows the Court as

follows:

                                  Parties, Jurisdiction, and Venue

          1.    The Plaintiff is the duly appointed, acting, and qualified Chapter 7 Trustee for the

Bankruptcy Estate of the Debtor.

          2.    The Debtor is the debtor in the bankruptcy case bearing Case Number 22-50228 (the

“Bankruptcy Case”), filed on October 7, 2022 (the “Petition Date”), and pending in the United States

Bankruptcy Court for the Western District of North Carolina (the “Court”).

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        3.      The Court has jurisdiction in this matter by virtue of 28 U.S.C. §§ 157 and 1334, and

the general order of reference for this judicial district.

        4.      This is a core proceeding as defined in 28 U.S.C. § 157(b)(2).

        5.      Venue of this action is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      The Plaintiff commences this action pursuant to Rule 7001(1) of the Federal Rules

of Bankruptcy Procedure, sections 544, 547, 550, and 502(d) of the Bankruptcy Code, and N.C.G.S.

§ 39-23.1 et seq.

        7.      Alan J. Sussman & Associates, LLC d/b/a The Sussman Agency is a Michigan

limited liability company (“Sussman”).

        8.      Franklin Communications, Inc. d/b/a Columbus Radio Group is an Ohio corporation

(“CRG”).

        9.      Scripps Media, Inc. is a Delaware corporation (“Scripps”).

        10.     Nexstar Media Group, Inc. is a Delaware corporation (“Nexstar Media Group”) and

Nexstar Media Inc. d/b/a Nexstar Broadcasting, Inc. is a Delaware corporation (“Nexstar Media”

and together with Sussman, CRG, Scripps, and Nexstar Media Group, the “Defendants”)

                                                  Facts

        11.     Defendant Sussman is an unsecured creditor in the Debtor’s bankruptcy case.

        12.     Prior to the Petition Date, the Debtor was engaged in the business of the sale and

installation of solar panels.

        13.     Defendant Sussman was, at all relevant times, vendors or creditors that provided

goods and/or services to or for the Debtor.

        14.     On or within ninety (90) days prior to the Petition Date, (the “Preference Period”),

the Debtor made certain transfers of an interest in its property, including transfers to or for the

benefit of the Defendants herein as identified on Exhibit A, attached hereto and incorporated herein

by reference.


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       15.     On or about October 4, 2023 (the “Demand Date”), demand was made on behalf of

the Plaintiff upon Defendant Sussman for return of the Transfers (as defined below).

       16.     The amounts stated in this Complaint may differ from the amount demanded by the

Plaintiff in his original demand letter(s). In the months leading up to the filing of this Complaint,

the Plaintiff continued to gather and review information regarding the Debtor’s pre-bankruptcy

transfers. In some instances, the Plaintiff’s efforts resulted in necessary adjustments to preference

demand amounts.

       17.     The Plaintiff has conducted an investigation regarding the Transfers and potential

defenses thereto, which has included a review of (i) the Debtor’s schedules, (ii) the Debtor’s

accounting system, (iii) the statements and records of Debtor accounts known to the Plaintiff, (iv)

in the event the Defendants filed a proof of claim, such proof of claim, and (v) in the event the

Defendants provided responsive materials to the demand letter, the responsive materials and/or

arguments provided.

       18.     Based upon Plaintiff’s review of the information, if any, provided by Defendants

prior to filing this Complaint, and after performing his own due diligence evaluation of the

reasonably knowable affirmative defenses to avoidance of the Transfer(s), the Plaintiff has

determined that the Plaintiff may avoid some or all of the Transfers even after taking into account

Defendants’ affirmative defenses.

       19.     The Defendants have failed to repay any portion of the Transfers to the Plaintiff.

                                        Additional Claims

       20.     Plaintiff is seeking to avoid all of the transfers of an interest of Debtor’s property

made by Debtor to Defendants within the Preference Period.

       21.     During the course of this adversary proceeding, Plaintiff may learn of additional

transfers made to Defendants during the Preference Period or that may be avoidable under other

provisions of the Bankruptcy Code. The Plaintiff intends to pursue all such claims. Accordingly,


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Plaintiff reserves its right to amend this original Complaint to include: (i) further information

regarding the Transfer(s), (ii) additional transfers, (iii) modifications of and/or revisions to

Defendants’ names, (iv) additional defendants, and/or (v) additional causes of action, if applicable

(collectively, the “Amendments”), that may become known to Plaintiff at any time during this

adversary proceeding, through formal discovery or otherwise, and for the Amendments to relate

back to this original Complaint.

                                    Transfers to Defendants

       22.     Debtor made various transfers to or for the benefit of the Defendants in advance of

the Petition Date.

       23.     Specifically, the Debtor made each of the transfers listed in Exhibit “A” attached

hereto and incorporated herein to, or for the benefit of, the Defendants in the amount and on the

date set forth (each a “Transfer” and together the “Transfers”).

       24.     Each of the Transfers is identified in the Debtor’s accounting systems as amounts

due and paid to Sussman on antecedent debt.

       25.     None of CRG, Scripps, Nexstar Media Group, or Nexstar Media are in the Debtor’s

accounting systems as a vendor to the Debtor.

       26.     Upon information and belief, Transfer No. 1 was made to CRG for the benefit of

Sussman.

       27.     Upon information and belief, Transfer No. 3 was made to Scripps for the benefit of

Sussman.

       28.     Upon information and belief, Transfer No. 4 was made to either Nexstar Media

Group or Nexstar Media for the benefit of Sussman.

       29.     Based upon information currently available to the Plaintiff, it appears that the

Defendants may have certain affirmative defenses to Plaintiff’s avoidance of certain portions of the

Transfers (the "Affirmative Defenses"). Based upon the Trustee’s review of the Debtor’s available


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records and those records provided by the Defendants to the Plaintiff, if any, the Plaintiff believes

the Defendants’ Affirmative Defenses are as set forth on Exhibit “A” attached hereto and

incorporated herein.

       30.     Based upon the Plaintiff’s pre-filing due diligence, the Plaintiff believes and asserts

that the net avoidable transfers (i.e., the total Transfers less the Affirmative Defenses) are as set

forth on Exhibit “A” attached hereto and incorporated herein (the “Net Transfers”).

                                      CLAIMS FOR RELIEF

                                        COUNT I
  Avoidance of All Transfers during the Preference Period - 11 U.S.C. § 547 as to Sussman

       31.     Plaintiff incorporates the allegations set forth in the paragraphs above.

       32.     Section 547(b) of the Bankruptcy Code authorizes the trustee to avoid a transfer of

any interest in the debtor’s property: (a) to or for the benefit of a creditor; (b) for or on account of

an antecedent debt owed by the debtor before the transfer was made; (c) made while the debtor was

insolvent; (d) made within 90 days before the Petition Date; and (e) that enables the creditor to

receive more than it would receive had: (i) the case been filed under chapter 7 of the Bankruptcy

Code; (ii) the transfer(s) not been made; and (iii) the creditor received payment of the debt to the

extent provided by the Bankruptcy Code. See 11 U.S.C. § 547(b).

       33.     During the Preference Period, Debtor made the Transfers to or for the benefit of

Sussman.

       34.     Each Transfer was made from the Debtor and each constitutes the transfer of an

interest in property of the Debtor.

       35.     Sussman was a creditor of Debtor at the time of each Transfer by virtue of supplying

goods and/or services to Debtor for which the Debtor was obligated to pay.

       36.     Each Transfer was made to, or for the benefit of, Sussman.




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          37.   Each Transfer was made for, or on account of, an antecedent debt or debts owed by

Debtor to Sussman before such Transfer were made, each of which constituted a “debt” or “claim”

(as those terms are defined in the Bankruptcy Code) of Sussman prior to being paid by the Debtor.

          38.   Each Transfer was made within the ninety (90) day period preceding the Petition

Date.

          39.   Based upon the Plaintiff’s review, the Debtor was insolvent during the Preference

Period.

          40.   Plaintiff is entitled to the presumption of insolvency for each Transfer made during

the Preference Period pursuant to 11 U.S.C. § 547(f).

          41.   Each Transfer enabled Sussman to receive more than it would have received if: (i) the

case were a case under chapter 7 of the Bankruptcy Code, (ii) the Transfer had not been made, and

(iii) the Defendants received payment of the debt to the extent provided by the provisions of the

Bankruptcy Code.

          42.   As evidenced by Debtor’s schedules filed in the underlying bankruptcy case as well

as the proofs of claim that have been received to date, the Debtor’s liabilities grossly exceed the

value of its assets such that Debtor’s unsecured creditors will not receive payment of their claims in

full from the Debtor’s bankruptcy estate.

          43.   Plaintiff brings these claims within the period afforded by the statute of limitations.

          44.   Plaintiff is entitled to judgment avoiding the Net Transfers under the provisions of 11

U.S.C. § 547.

                                          COUNT II
                 In the Alternative, Avoidance of Fraudulent Conveyances –
    11 U.S.C. § 548(a)(1)(B); 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq. as to Sussman

          45.   Plaintiff hereby incorporates all previous allegations as though fully set forth herein

to the extent they are not inconsistent will allegations contained in this Second Claim for Relief.




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       46.     To the extent one or more of the Transfers is determined to have not been made on

account of an antecedent debt, or was a prepayment for goods and/or services subsequently received,

Plaintiff pleads in the alternative that Debtor did not receive reasonably equivalent value in

exchange for such transfer(s) (the “Potentially Fraudulent Transfers”); and

               a.     The Debtor was insolvent as of the date of the Transfer(s), or became insolvent

                      as a result of the Transfer(s); or

               b.     The Debtor was engaged, or about to engage, in business or a transaction for

                      which any property remaining with Debtor or for whose benefit the Transfer(s)

                      was made was an unreasonably small capital; or

               c.     The Debtor intended to incur, or believed it would incur, debts beyond its

                      ability to pay upon maturity.

       47.     There is at least one actual holder of an allowed claim who would have standing to

assert a claim under the North Carolina Uniform Voidable Transactions Act (the “UVTA”), N.C.

Gen. Stat. § 39-23.1 et seq.

       48.     The Plaintiff, as Chapter 7 trustee for the Debtor, has standing to pursue the

avoidance of the Transfer(s) under the UVTA pursuant to the statutory authorities granted him under

Section 544 of the Bankruptcy Code.

       49.     Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

pursuant to 11 U.S.C. § 548(a)(1)(B) and/or 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq.

                                         COUNT III
                 In the Alternative, Avoidance of Fraudulent Conveyances –
      11 U.S.C. § 548(a)(1)(B); 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq. as to CRG

       50.     Plaintiff hereby incorporates all previous allegations as though fully set forth herein

to the extent they are not inconsistent will allegations contained in this Third Claim for Relief.

       51.     Transfer No. 1 was made to CRG.




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       52.     Upon information and belief, the Debtor did not receive reasonably equivalent value

in exchange for Transfer No. 1 from CRG; and

               a.     The Debtor was insolvent as of the date of the Transfer(s), or became insolvent

                      as a result of the Transfer(s); or

               b.     The Debtor was engaged, or about to engage, in business or a transaction for

                      which any property remaining with Debtor or for whose benefit the Transfer(s)

                      was made was an unreasonably small capital; or

               c.     The Debtor intended to incur, or believed it would incur, debts beyond its

                      ability to pay upon maturity.

       53.     There is at least one actual holder of an allowed claim who would have standing to

assert a claim under the North Carolina Uniform Voidable Transactions Act (the “UVTA”), N.C.

Gen. Stat. § 39-23.1 et seq.

       54.     The Plaintiff, as Chapter 7 trustee for the Debtor, has standing to pursue the

avoidance of the Transfer(s) under the UVTA pursuant to the statutory authorities granted him under

Section 544 of the Bankruptcy Code.

       55.     Based upon the foregoing, Transfer No. 1 is avoidable pursuant to 11 U.S.C. §

548(a)(1)(B) and/or 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq.

                                          COUNT IV
                 In the Alternative, Avoidance of Fraudulent Conveyances –
     11 U.S.C. § 548(a)(1)(B); 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq. as to Scripps

       56.     Plaintiff hereby incorporates all previous allegations as though fully set forth herein

to the extent they are not inconsistent will allegations contained in this Fourth Claim for Relief.

       57.     Transfer No. 3 was made to Scripps.

       58.     Upon information and belief, the Debtor did not receive reasonably equivalent value

in exchange for Transfer No. 3 from Scripps; and




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               a.     The Debtor was insolvent as of the date of the Transfer(s), or became insolvent

                      as a result of the Transfer(s); or

               b.     The Debtor was engaged, or about to engage, in business or a transaction for

                      which any property remaining with Debtor or for whose benefit the Transfer(s)

                      was made was an unreasonably small capital; or

               c.     The Debtor intended to incur, or believed it would incur, debts beyond its

                      ability to pay upon maturity.

       59.     There is at least one actual holder of an allowed claim who would have standing to

assert a claim under the UVTA.

       60.     The Plaintiff, as Chapter 7 trustee for the Debtor, has standing to pursue the

avoidance of the Transfer(s) under the UVTA pursuant to the statutory authorities granted him under

Section 544 of the Bankruptcy Code.

       61.     Based upon the foregoing, Transfer No. 3 is avoidable pursuant to 11 U.S.C. §

548(a)(1)(B) and/or 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq.

                                          COUNT V
                 In the Alternative, Avoidance of Fraudulent Conveyances –
 11 U.S.C. § 548(a)(1)(B); 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq. as to Nexstar Media
                                  Group or Nexstar Media

       62.     Plaintiff hereby incorporates all previous allegations as though fully set forth herein

to the extent they are not inconsistent will allegations contained in this Fifth Claim for Relief.

       63.     Upon information and belief, transfer No. 4 was made to either Nexstar Media Group

or Nexstar Media.

       64.     Upon information and belief, the Debtor did not receive reasonably equivalent value

in exchange for Transfer No. 4 from Nexstar Media Group or Nexstar Media; and

               a.     The Debtor was insolvent as of the date of the Transfer(s), or became insolvent

                      as a result of the Transfer(s); or



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                b.        The Debtor was engaged, or about to engage, in business or a transaction for

                          which any property remaining with Debtor or for whose benefit the Transfer(s)

                          was made was an unreasonably small capital; or

                c.        The Debtor intended to incur, or believed it would incur, debts beyond its

                          ability to pay upon maturity.

        65.     There is at least one actual holder of an allowed claim who would have standing to

assert a claim under the UVTA.

        66.     The Plaintiff, as Chapter 7 trustee for the Debtor, has standing to pursue the

avoidance of the Transfer(s) under the UVTA pursuant to the statutory authorities granted him under

Section 544 of the Bankruptcy Code.

        67.     Based upon the foregoing, Transfer No. 4 is avoidable pursuant to 11 U.S.C. §

548(a)(1)(B) and/or 11 U.S.C. § 544 and N.C.G.S. § 39-23.1 et seq.

                                      COUNT VI
 Recovery of Property Pursuant to 11 U.S.C. § 550; 11 U.S.C. § 544 and N.C.G.S. § 39-23.7

        68.     Plaintiff realleges all prior paragraphs of this complaint and incorporates them as if

fully set forth herein.

        69.     Section 550 of the Bankruptcy Code provides that if a transfer is avoided under

section 547 or 548 of the Bankruptcy Code, Plaintiff may recover the property or the value of the

property transferred from the initial transferee(s), or the person/entity for whose benefit the

transfer(s) were made or may recover from any immediate or mediate transferee of such initial

transferee. See 11 U.S.C. § 550(a).

        70.     Section 39-23.7 of the North Carolina General Statutes similarly provides for the

recovery of property transferred in avoidable transactions. See N.C. Gen. Stat. § 39-23.7(a).

        71.     Plaintiff is entitled to avoid the Net Transfers and/or the Potentially Fraudulent

Transfers (collectively, the “Avoidable Transfers”) as alleged herein pursuant to 11 U.S.C. § 547(b)

and/or pursuant to 11 U.S.C. § 548 and/or pursuant to N.C. Gen. Stat. § 23.1 et seq.

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        72.     The Defendants were the initial transferees of the Avoidable Transfers or the

person/entity for whose benefit the Avoidable Transfers were made or were the immediate or

mediate transferee of such initial transferee.

        73.     There is at least one actual holder of an allowed claim who would have standing to

assert a claim under the UVTA.

        74.     The Plaintiff, as Chapter 7 trustee for the Debtor, has standing to pursue the

avoidance of the Avoidable Transfer(s) under the UVTA pursuant to the statutory authorities granted

him under Section 544 of the Bankruptcy Code.

        75.     As a result, the Plaintiff is entitled to recover the Avoidable Transfers, plus interest

thereon to the date of payment and the costs of this action, from the Defendants pursuant to the

provisions of 11 U.S.C. § 550 and/or 11 U.S.C. § 544 and N.C. Gen. Stat. § 39-23.1 et seq.

                                          COUNT VII
                Disallowance of all Claims Pursuant to 11 U.S.C. § 502(d) and (j)

        76.     Plaintiff realleges all prior paragraphs of this complaint and incorporates them as if

fully set forth herein.

        77.     Defendants are transferees of transfers avoidable under sections 547 and/or 548 of

the Bankruptcy Code, which property is recoverable under section 550 of the Bankruptcy Code.

        78.     Defendants have not paid the amount of the Avoidable Transfers, or turned over such

property, for which Defendants are liable under 11 U.S.C. § 550.

        79.     Pursuant to 11 U.S.C. § 502(d), any and all Claims of Defendants and/or their

assignees, against the Debtor’s estate must be disallowed until such time as Defendants pay to

Plaintiff an amount equal to the aggregate amount of the Avoidable Transfers, plus interest thereon

and costs.

        80.     Pursuant to 11 U.S.C. § 502(j), any and all Claims of Defendants, and/or their

assignees, against the Debtor’s estate previously allowed by Plaintiff, must be reconsidered and



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disallowed until such time as Defendants pay to Plaintiff an amount equal to the aggregate amount

of the Avoidable Transfers.

                                  RESERVATION OF RIGHTS

      81.      As this action proceeds, the Plaintiff may become aware of additional transfers or

causes of action not set forth in this Complaint. The Plaintiff expressly reserves any and all rights

to amend this Complaint, including, without limitation, to add additional transfers, claims and causes

of action, including, without limitation, additional claims and causes of action based on newly

discovered information of which the Plaintiff was not aware as of the filing of this Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests judgment as follows:

       1.      That the Court avoid all of the Avoidable Transfers made to or for the benefit of the

Defendants, less any Affirmative Defenses proven to the satisfaction of the Court;

       2.      As to Transfer No. 1, that the Plaintiff be awarded judgment against Sussman and/or

CRG in amount equal to Transfer No. 1, or in such amount as the Court determines to be due

(following application of any additional Affirmative Defenses proven to the satisfaction of the

Court) pursuant to 11 U.S.C. § 550 and/or 11 U.S.C. § 544 and N.C. Gen. Stat. § 39-23.1 et seq.;

       3.      As to Transfer No. 2 and Transfer No. 5, that the Plaintiff be awarded judgment

against Sussman in amount equal to the sum of Transfer No. 2 and Transfer No. 5, or in such amount

as the Court determines to be due (following application of any additional Affirmative Defenses

proven to the satisfaction of the Court) pursuant to 11 U.S.C. § 550 and/or 11 U.S.C. § 544 and N.C.

Gen. Stat. § 39-23.1 et seq.;

       4.      As to Transfer No. 3, that the Plaintiff be awarded judgment against Sussman and/or

Scripps in amount equal to Transfer No. 3, or in such amount as the Court determines to be due

(following application of any additional Affirmative Defenses proven to the satisfaction of the

Court) pursuant to 11 U.S.C. § 550 and/or 11 U.S.C. § 544 and N.C. Gen. Stat. § 39-23.1 et seq.;


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        5.      As to Transfer No. 4, that the Plaintiff be awarded judgment against Sussman and/or

Nexstar Media Group or Nexstar Media in amount equal to Transfer No. 4, or in such amount as the

Court determines to be due (following application of any additional Affirmative Defenses proven to

the satisfaction of the Court) pursuant to 11 U.S.C. § 550 and/or 11 U.S.C. § 544 and N.C. Gen.

Stat. § 39-23.1 et seq.;

        6.      That the Plaintiff be awarded his costs and expenses including, without limitation,

his reasonable attorneys’ fees to the extent permitted by applicable law;

        7.      That the Plaintiff be awarded interest on the judgment amount at the federal judgment

rate from the Demand Date until paid, with such recovery being for the benefit of the Debtor’s estate

pursuant to 11 U.S.C. § 550(a);

        8.      That any claim held or filed by Defendants against the Debtor be disallowed until

Defendants return the Avoidable Transfers (less any additional Affirmative Defenses proven to the

satisfaction of the Court) to Plaintiff pursuant to 11 U.S.C. § 502(d) and (j); and

        9.      That the Court grant Plaintiff such other and further relief as the Court deems just

and proper.

Dated: _____________ __, 2024
       Charlotte, North Carolina              HAMILTON STEPHENS
                                              STEELE + MARTIN, PLLC

                                               /s/ Melanie D. Johnson Raubach
                                              Melanie D. Johnson Raubach (NC Bar No. 41929)
                                              525 North Tryon Street, Suite 1400
                                              Charlotte, North Carolina 28202
                                              Telephone: (704) 344-1117
                                              Facsimile: (704) 344-1483
                                              mraubach@lawhssm.com

                                              YOUNG, MORPHIS, BACH & TAYLOR, LLP

                                               /s/ Jimmy R. Summerlin, Jr.
                                              Jimmy R. Summerlin, Jr. (NC Bar No. 31819)
                                              P.O. Drawer 2428
                                              Hickory, North Carolina 28603
                                              Telephone: (828) 322-4663
                                              Facsimile: (828) 324-2431

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                                   jimmys@hickorylaw.com
                                   Attorneys for Plaintiff




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                                   Exhibit “A”
                      Transfers, Defenses, and Net Transfers

I. TRANSFERS
                                 RECIPIENT          RECIPIENT
                                PER DEBTOR         PER DEBTOR
     DATE         AMOUNT
                                ACCOUNTING          TRANSFER
                                 RECORDS               LOG
                                                                     This Transfer
                                                                    shall be referred
   07/18/2022     $17,000.00        Sussman
                                                        CRG           to herein as
                                                                    “Transfer No. 1”
                                                                     This Transfer
                                                                    shall be referred
   08/17/2022     $40,000.00        Sussman
                                                      Sussman         to herein as
                                                                    “Transfer No. 2”
                                                                     This Transfer
                                                                    shall be referred
   08/23/2022     $38,578.43
                                    Sussman            Scripps        to herein as
                                                                    “Transfer No. 3”
                                                                     This Transfer
                                                    Nexstar Media   shall be referred
   08/23/2022     $46,240.00
                                    Sussman           Group or        to herein as
                                                    Nexstar Media   “Transfer No. 4”
                                                                     This Transfer
                                                                    shall be referred
   09/13/2022     $133,265.00
                                    Sussman           Sussman         to herein as
                                                                    “Transfer No. 5”

                   TOTAL:
                  $275,083.43

II. AFFIRMATIVE DEFENSES
 STATUTORY        AMOUNT           BRIEF
    BASIS                       EXPLANATION
     N/A              $0            N/A


   TOTAL                               $0
AFFIRMATIVE
 DEFENSES:




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III. AVOIDABLE TRANSFERS
                     Total       $275,083.43
                   Transfers
     Less            Total          -$0.00
                  Affirmative
                   Defenses
                 AVOIDABLE       $275,083.43
                 TRANSFERS




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            1040) (12/15)    Doc 10-1 Filed 01/02/25 Entered 01/02/25 17:06:56 Desc Exhibit
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                                       COVER SHEET              18 of 19 PROCEEDING NUMBER
                                                          ADVERSARY
                  (Instructions on Reverse)               (Court Use Only)


 PLAINTIFFS                                                                       DEFENDANTS
                                                                                  Alan J. Sussman & Associates, LLC d/b/a The Sussman
 Jimmy R. Summerlin, Jr., in his capacity as Chapter 7                            Agency, Franklin Communications, Inc. d/b/a Columbus
 bankruptcy trustee for the Estate of Power Home Solar, LLC                       Radio Group, Scripps Media, Inc., Nexstar Media Group,
 d/b/a Pink Energy                                                                Inc., and Nexstar Media Inc. d/b/a Nexstar Broadcasting,
                                                                                  Inc.
 ATTORNEYS (Firm Name, Address, and Telephone                                     ATTORNEYS (If Known)
 No.)
 Melanie D. Johnson Raubach (NC Bar No. 41929)
 Hamilton Stephens Steele + Martin, PLLC
 525 North Tryon Street, Suite 1400
 Charlotte, NC 28202
 (704) 344-1117
 PARTY (Check One Box Only)                  PARTY (Check One Box Only)
  Debtor      U.S. Trustee/Bankruptcy Admin    Debtor      U.S. Trustee/Bankruptcy Admin
  Creditor    Other                            Creditor    Other
  Trustee                                      Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES
 INVOLVED)
 Avoidance of All Transfers during the Preference Period - 11 U.S.C. § 547; Avoidance of Fraudulent Conveyances -
 11 U.S.C. § 548(a)(1)(B); Recovery of Property Pursuant to 11 U.S.C. § 550; and Disallowance of all Claims Pursuant
 to 11 U.S.C. § 502(d) and (j)
                                                                    NATURE OF SUIT
              (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
 FRBP 7001(1) – Recovery of Money/Property                                        FRBP 7001(6) – Dischargeability (continued)
   11-Recovery of money/property - §542 turnover of property                        61-Dischargeability - §523(a)(5), domestic support
   12-Recovery of money/property - §547 preference                                  68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                         63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property – other                                            64-Dischargeability - §523(a)(15), divorce or separation obligation (other
                                                                                      than domestic support)
 FRBP 7001(2) – Validity, Priority or Extent of Lien                                65-Dischargeability – other
   21-Validity, priority or extent of lien or other interest in property
                                                                                  FRBP 7001(7) – Injunctive Relief
 FRBP 7001(3) – Approval of Sale of Property                                        71-Injunctive relief – imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)            72-Injunctive relief – other

 FRBP 7001(4) – Objection/Revocation of Discharge                                 FRBP 7001(8) Subordination of Claim or Interest
   41-Objection / revocation of discharge - §727(c),(d),(e)                         81-Subordination of claim or interest

 FRBP 7001(5) – Revocation of Confirmation                                        FRBP 7001(9) Declaratory Judgment
   51-Revocation of confirmation                                                    91-Declaratory judgment

 FRBP 7001(6) – Dischargeability                                                  FRBP 7001(10) Determination of Removed Action
   66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                  01-Determination of removed claim or cause
   62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                              Other
   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement,               SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
        larceny                                                                      02-Other (e.g. other actions that would have been brought in state court if
                       (continued next column)                                          unrelated to bankruptcy case)

     Check if this case involves a substantive issue of state law                     Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                 Demand $275,083.43
 Other Relief Sought



4892-2925-8985, v. 1
B1040 (FORMCase    24-03063
            1040) (12/15)            Doc 10-1 Filed 01/02/25 Entered 01/02/25 17:06:56                            Desc Exhibit
                                          A - Amended Complaint Page 19 of 19
                       BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
 NAME OF DEBTOR                                                          BANKRUPTCY CASE NO.

 Power Home Solar, LLC d/b/a Pink Energy                                 22-50228
 DISTRICT IN WHICH CASE IS PENDING                                       DIVISION OFFICE                     NAME OF JUDGE

 Western District of North Carolina                                      Charlotte Division                  Paul M. Black

                                        RELATED ADVERSARY PROCEEDING (IF ANY)
 PLAINTIFF                                                DEFENDANT                                          ADVERSARY
                                                                                                             PROCEEDING NO.

 DISTRICT IN WHICH ADVERSARY IS PENDING                                  DIVISION OFFICE                     NAME OF JUDGE

 SIGNATURE OF ATTORNEY (OR PLAINTIFF)

   /s/ Melanie D. Johnson Raubach
 DATE                                                                    PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 December __, 2024                                                       Melanie D. Johnson Raubach (NC Bar No. 41929)

                                                              INSTRUCTIONS

                  The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which
         consists of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so
         extensive and the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the
         estate. There also may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it
         is called an adversary proceeding.

                   A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
         Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case
         Management/Electronic Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the
         filing process.) When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk
         of court needs the information to process the adversary proceeding and prepare required statistical reports on court
         activity.

                  The cover sheet and the information contained on it do not replace or supplement the filing and service of
         pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which
         is largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
         represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

         Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
         Attorneys. Give the names and addresses of the attorneys, if known.
         Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
         Demand. Enter the dollar amount being demanded in the complaint.


         Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
         plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
         by an attorney, the plaintiff must sign.




4892-2925-8985, v. 1
